51 F.3d 270
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marvin Nathaniel RANDOLPH, Petitioner-Appellant,v.Edward W. MURRAY, Director;  Clarence L. Jackson, Jr.,Chairman, Respondents-Appellees.
    No. 94-7396.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1995Decided:  April 4, 1995
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CA-94-249-R)
      Marvin Nathaniel Randolph, Appellant Pro Se.
      Mary Elizabeth Shea, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, for Appellees.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Randolph v. Murray, No. CA-94-249-R (E.D. Va.  Oct. 14, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    